












	




IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. AP-75,294





ALFRED DEWAYNE BROWN, Appellant


v.


THE STATE OF TEXAS





ON DIRECT APPEAL FROM CAUSE NO. 1035159

IN THE 351ST JUDICIAL DISTRICT COURT 

HARRIS COUNTY




	Meyers, J., delivered the opinion of the Court, in which Price, Johnson,
Keasler, Hervey, Holcomb, and Cochran, JJ., joined.  Keller, P.J., concurred in
points of error one and two and otherwise joined.  Womack, J., concurred. 


O P I N I O N



	In October 2005, a jury convicted appellant, Alfred DeWayne Brown, of capital
murder committed on April 3, 2003.  Tex. Penal Code Ann. § 19.03(a).  Based on the jury's
answers to the special issues set forth in Texas Code of Criminal Procedure Article 37.071,
sections 2(b) and 2(e), the trial judge sentenced appellant to death.  Art. 37.071 § 2(g). (1) 
Direct appeal to this Court is automatic.  Art. 37.071 § 2(h).  After reviewing appellant's four
points of error, we find them to be without merit.  Accordingly, we affirm the trial court's
judgment and sentence of death.

STATEMENT OF FACTS

	Appellant decided, with Dashan Glaspie and Elijah Joubert, to rob the tellers at a
check-cashing business.  Joubert and appellant were supposed to go inside while Glaspie
would act as the lookout and getaway driver.  They arrived at the business as it was about to
open, but the owner stymied their scheme when he displayed a handgun.  Not persuaded to
abandon their plan altogether, the group decided to try again at a second check-cashing store.

	Alfredia Jones arrived to open that business.  Gun in hand, Joubert approached Jones
and went inside with her.  Joubert permitted Jones to make a telephone call to an affiliated
check-cashing business to say that she was "opening Center 24."  This statement was actually
a code to alert authorities of the robbery.  Meanwhile, Glaspie and appellant, who had been
waiting in an adjacent furniture store, entered the check-cashing business.  Joubert then held
his gun to Jones's head and ordered her to open the safe; Glaspie checked for surveillance
equipment, and appellant rummaged through Jones's purse.  As the robbery was occurring,
police arrived, and Officer Charles Clark began to go inside.  Appellant shot Officer Clark,
and Joubert shot Jones, accusing her of tipping off the police.  Both victims died.  As part of
a plea agreement, Glaspie later testified against appellant and Joubert in separate capital
murder trials.

ACCOMPLICE WITNESS CORROBORATION

	In his fourth point of error, appellant argues that the testimony of Glaspie, who
implicated appellant in the robbery and the killing of Officer Clark, was not sufficiently
corroborated to sustain his conviction under the accomplice-witness rule.  This rule creates
a statutorily imposed review that is not derived from federal or state constitutional principles
defining the legal- and factual-sufficiency standards.  Cathey v. State, 992 S.W.2d 460,
462-63 (Tex. Crim. App. 1999).  In short, it requires that, before a conviction may rest upon
the testimony of an accomplice witness, the accomplice's testimony must be corroborated by
independent evidence tending to connect the accused with the crime.  Art. 38.14.  The
corroborative evidence, however, need not be sufficient in itself to establish guilt, nor must
it directly link the accused to the commission of the offense.  Hernandez v. State, 939 S.W.2d
173, 176 (Tex. Crim. App. 1997).  We view the evidence in the light most favorable to the
jury's verdict.  Gill v. State, 873 S.W.2d 45, 48 (Tex. Crim. App. 1994).

	An accomplice is someone who participates with the defendant before, during, or after
the commission of a crime and acts with the required culpable mental state.  Paredes v. State,
129 S.W.3d 530, 536 (Tex. Crim. App. 2004); Kunkle v. State, 771 S.W.2d 435, 439 (Tex.
Crim. App. 1986).  Here, it is undisputed that Glaspie, who participated in the crime and who 
was subsequently convicted of aggravated robbery in accordance with a plea agreement for
his participation, is an accomplice as a matter of law.  See Paredes, 129 S.W.3d at 536
(holding that "[a]n accomplice as a matter of law is one who is susceptible to prosecution for
the offense with which the accused is charged or a lesser included offense").  Thus, for the
conviction to rest upon Glaspie's testimony, "there must simply be some non-accomplice
evidence which tends to connect appellant to the commission of the offense alleged in the
indictment."  McDuff v. State,  939 S.W.2d 607, 613 (Tex. Crim. App. 1997) (emphasis in
original).

	Appellant argues that any such corroboration is lacking, and that because there is
inadequate other evidence linking appellant to the crime, the conviction should be
overturned.  He states, "The only evidence that even comes close to connecting appellant
with the offense was Erika Dockery's testimony that appellant told her that he 'was there.' 
However, state's witness Dockery was an admitted perjurer and drug abuser . . . .  The
testimony of accomplice witness Glaspie was not corroborated in such a way as to sustain
the appellant's conviction.  The conviction cannot stand."  We disagree.

	Erika Dockery, who testified for the State, was appellant's girlfriend at the time of the
offense and lived with him at the Plum Creek Apartments.  Her testimony established that
appellant demanded that she lie to the grand jury investigating the crime and provide him
with an alibi.  She obliged, but later admitted that she had lied.  She was charged with
aggravated perjury, a fact that was made known to the jury, and she admitted to drug use. 
Dockery also testified that on the day of the crime, appellant was acting very unusually.  He
telephoned her and told her to watch a news broadcast regarding the crime, and she testified
that when she saw him later that same day, he appeared nervous and was moaning and
crying.  Most importantly, Dockery testified that she had regularly visited appellant at the jail
after his arrest, and on the last day she visited him, she pleaded with him:  "I need - - I want
to know the truth.  Did you do this?  . . .  I want to know.  Did you kill the lady?  Did you
shoot the policeman?  I need to know.  Did you do it?"  Appellant eventually responded by
putting his head down and saying, "I was there.  I was there."  

	We have held that sufficient accomplice-witness corroboration may be furnished by
the suspicious conduct of a defendant, and under most circumstances, an admission or
confession will be sufficient to corroborate the accomplice-witness testimony.  Killough v.
State, 718 S.W.2d 708, 711 (Tex. Crim. App. 1986); Jackson v. State, 516 S.W.2d 167, 171
(Tex. Crim. App. 1974); see also Longoria v. State, 154 S.W.3d 747, 757 (Tex.
App.--Houston [14th Dist.] 2004, pet. ref'd) (holding that an attempt to procure a false alibi
is some evidence of guilt).  Here, appellant's unusual conduct on the day of the offense, his
asking Dockery to provide an alibi, and his admission that he "was there" when the robbery
and killings occurred, in combination, is some non-accomplice evidence that tends to connect
appellant to the commission of the offense alleged in the indictment.  The fact that the
testimony may have been subject to impeachment as coming from an admitted perjurer and
drug user goes to the weight of the evidence and not to its admissibility.  See Tex. R. Evid.
609, 613; Jones v. State, 944 S.W.2d 642, 647 (Tex. Crim. App. 1996).  These issues were
therefore within the province of the jury as the exclusive judge of the credibility of the
witness and of the weight to be given her testimony.  See Jones, 944 S.W.2d at 647.  

	Even so, the veracity of Dockery's testimony regarding appellant's admission that he
"was there" is bolstered by other testimony that placed appellant at the crime scene and with
Glaspie and Joubert before and after the killings.  This evidence, while alone not conclusive,
may also be considered when evaluating accomplice-witness corroboration.  See Killough,
718 S.W.2d at 711.  

	Alisha Renee Hubbard testified that, soon before the first robbery attempt, she
observed appellant with Glaspie and Joubert at the Villa Americana apartments, where
Glaspie and Joubert lived.  She overheard Joubert ask Glaspie, "Are you ready to go do this?"
and soon thereafter, she saw Glaspie loading a pistol's magazine with bullets.  Another
witness, Sheikah Mohammad Afzal, testified that he was an employee at the furniture store
adjacent to the check-cashing business where Glaspie testified he and appellant were waiting
as Joubert began the robbery.  At trial, Afzal stated he was 85 percent certain that appellant
was one of the two men he saw, interacted with, and watched leave the store in the direction
of the check-cashing business immediately before the murders occurred.  He testified, "Yes,
I identify him in court.  I identified him in the lineup, and I identified him in the store also. 
He's the same guy."  Sharonda Simon, appellant's ex-girlfriend, testified that she saw
appellant at the Villa Americana apartments soon after the crime.  He was sitting in a vehicle
that matched the description of the one used by the perpetrators of the crime, and Joubert and
Glaspie were standing nearby.  The State also admitted telephone records showing call
locations and times that corresponded with Glaspie's testimony concerning various calls he
had made to appellant or were made by appellant in the hours immediately before and after
the crime.

	The testimony of accomplice-witness Glaspie, who implicated appellant and detailed
his participation in the crime, is sufficiently corroborated by other independent evidence
tending to connect appellant with the crime.  Point of error four is overruled.

JURY SHUFFLE

	In his third point of error, appellant argues that the trial judge erred in overruling his
several requests to shuffle the jury panel.  While it is true that either party may request to
have the entire panel of prospective jurors shuffled, a request to shuffle in a capital case must
be made before the trial judge propounds questions to the venire panel concerning principles
applicable to the case on trial.  See Art. 35.11; Art. 35.17; see also Davis v. State, 782 S.W.2d
211, 215 (Tex. Crim. App. 1989) (holding that "[i]n a capital case, . . . the voir dire
commences when the trial judge begins his examination of the panel"); Latham v. State, 656
S.W.2d 478, 479 (Tex. Crim. App. 1983) (holding that "[t]he accused who desires a shuffle
must urge his motion to shuffle prior to the commencement of the voir dire examination"). 
Here, appellant's several requests to shuffle the jury were not timely.  

	The venire panel consisted of 395 prospective jurors.  The trial judge split the venire
panel into three smaller sections with 120 venire members in the first, 150 in the second, and
125 in the third.  Each venire section was brought into the courtroom separately, and after
excusing several prospective jurors by agreement based solely on written questionnaires, the
trial judge conducted his voir dire of each section separately.  After the trial judge's voir dire
of each section, prospective jurors were then excused or dismissed for cause or by agreement;
the parties did not question the prospective jurors at this time.  The remaining prospective
jurors from all three sections were scheduled for individual voir dire to be conducted by the
parties.  After this individual voir dire was completed, 51 venire members that were not
excused for cause or by agreement remained, and it was not until this point that appellant
requested and then twice re-urged his request for a jury shuffle.  The requests were denied,
and the parties then exercised their peremptory strikes to empanel a petit jury of twelve and
two alternates.  At all times during this procedure, the prospective jurors remained in the
same ordinal sequence in which they were originally empaneled.

	Appellant's three requests to shuffle were all made, not only after the trial judge had
begun his voir dire, but after individual voir dire questioning of the prospective jurors had
concluded, and after the trial judge had already excused many prospective jurors for cause
or by agreement.  A jury shuffle at such a late stage would have been improper.  As we have
stated, "To allow either party to request a shuffle of the names of the jury panel after voir dire
begins would be disruptive and unduly prolong the trial.  Further, it would permit such an
election to be based upon information already elicited on voir dire.  Clearly, this was not the
intent of the legislature."  Alexander v. State,  523 S.W.2d 720, 721 (Tex. Crim. App. 1975).

	Because appellant's requests were not timely, the trial judge did not err in refusing to
shuffle the jury.  Point of error three is overruled.

PROSECUTOR'S COMMENTS AT CLOSING

	In his first two points of error, appellant argues that the trial court erred when it
overruled his objections concerning statements the prosecutor made at the beginning of the
State's rebuttal closing argument at the guilt phase of the trial.  He maintains that the
prosecutor's statements were outside the record and were calculated to attack him over
defense counsel's shoulders.  The pertinent portion of the prosecutor's argument is as
follows:

	MR. RIZZO [prosecutor]:  You know, ladies and gentlemen, I have to start off
by commenting on just one area the Defense counsel commented on.  And I
don't get into personal attacks.  I've been a Prosecutor for 23 years.  I just
don't do it.  I think it's sleazy.  I don't do it.  

	

	But I'm going to tell you, the personal attacks that Defense counsel made on
me today, I've seen a couple of times in the last 23 years.  I just want to - I'm
not going to go on and comment about those other than to say that they are
offensive.  They're terribly offensive to me as a Prosecutor for this long a
period.

	

	And I'm not going to tell you what's happened in the past in those couple of
rare occasions in 23 years where someone would attack me in such a way
where there's no evidence of any kind for the mere fact of trying to somehow
help their client, which they should be trying to help their client, but not by
personally attacking me.

	

	MR. MORROW [defense co-counsel]:   Judge, I'm going to object.  That's
outside the record, the Prosecutor's testifying.


	THE COURT:   Overruled.

	

	MR. RIZZO:   The reason I'm allowed to talk to you about this is because it's
a response to something improper.

	

	Ladies and gentlemen, if I had done just a smidgen of what [defense co-counsel] Ms. Muldrow said, I should not only be fired, but I should be
indicted.  So what she did to you was she lied.

	

	MR. MORROW:   Judge, I object to Mr. Rizzo attacking [appellant] over Ms.
Muldrow's shoulder.

	

	THE COURT:   Overruled.

	

	MR. MORROW:   May I have a running objection to this line of argument,
Your Honor?

	

	THE COURT:   Yes.

	

	MR. MORROW:   Thank you.

	

	MR. RIZZO:   She lied.  She stood up here and lied to you.  And I'm going to
let you know that I'm offended and that's the last I'm going to talk about that
because there is no evidence from any source, none at all.  And I will
remember it.  Ladies and gentlemen, let's go on to what we're here for.


	As this Court has stated, "It is the duty of trial counsel to confine their arguments to
the record; reference to facts that are neither in evidence nor inferable from the evidence is
therefore improper."   Alejandro v. State, 493 S.W.2d 230, 231 (Tex. Crim. App. 1973). 
Thus, proper jury argument generally falls within one of four general areas:  (1) summation
of the evidence; (2) reasonable deduction from the evidence; (3) answer to argument of
opposing counsel; and (4) plea for law enforcement.  Id.; Guidry v. State, 9 S.W.3d 133, 154
(Tex. Crim. App.1999).  "The arguments that go beyond these areas too often place before
the jury unsworn, and most times believable, testimony of the attorney."  Alejandro, 493
S.W.2d at 231.  Consequently, error exists when facts not supported by the record are
interjected in the argument, but such error is not reversible unless, in light of the record, the
argument is extreme or manifestly improper.  Allridge v. State, 762 S.W.2d 146, 155 (Tex.
Crim. App. 1988). 

	The State argues that the prosecutor's statements were allowable responses to the
tactics used by one of appellant's attorneys, Loretta Muldrow, in cross-examining several
State witnesses:  "Muldrow cross-examined most of those witnesses in a manner calculated
to convey the impression that they falsely testified and/or perjured themselves both at [co-defendant] Elijah Joubert's trial and/or appellant's trial, and did so at the request or direction
of Dan Rizzo, an assistant district attorney assigned to prosecute both Joubert and appellant." 
However, proper jury argument includes answering jury argument made by opposing counsel
during the argument itself, and does not include responding to prior cross-examination tactics
used by opposing counsel during trial; the proper time to challenge such tactics is not during
jury argument, but when the objectionable tactics are used.  In short, the correct response to
objectionable witness examination is to properly object at trial and correct any mis-impressions through further examination.  See generally Martinez v. State, 22 S.W.3d 504,
507 (Tex. Crim. App. 2000) (stating that a timely objection gives the trial court or the
opposing party the opportunity to correct the error or remove the basis for the objection). 
Thus, we are unpersuaded that the prosecutor's statements can be characterized as an answer
to the argument of opposing counsel based on opposing counsel's cross-examination of
witnesses.

	The State also argues that the prosecutor's statements were allowable responses to
multiple statements made by Ms. Muldrow throughout her closing argument.  A review of
this closing argument demonstrates that Ms. Muldrow argued that several witnesses gave
false testimony, and her argument insinuated that the alleged false testimony may have been
at the direction of Mr. Rizzo.  This argument was premised on the facts that witnesses met
with Mr. Rizzo before the capital-murder trials of appellant and his co-defendant, that
witnesses gave testimony that differed from earlier statements given to police or earlier
testimony given at the co-defendant's trial, that several witnesses received substantial
monetary rewards from Crime Stoppers, that one witness who was charged with aggravated
perjury had made a deal with Mr. Rizzo to get out of jail, and that appellant's other co-defendant reached a deal with Mr. Rizzo for a thirty-year sentence for aggravated robbery
in exchange for his testimony against appellant.  For example, part of Ms. Muldrow's closing
argument reads as follows:

	[LaTonya Hubbard, who testified at trial and is the sister of Alisha Renee
Hubbard, who also testified] met with Mr. Rizzo about three times with her
and her sisters before Mr. Joubert's trial in October 2004.  She saw the prop
with the three photos in State's Exhibit 147.  And at the trial she
acknowledged giving perjured testimony. . . .  She acknowledged naming
[appellant] as one of the individuals there across the street of Mr. Foisner's
business [the first business appellant, Glaspie, and Joubert attempted to rob]. 
She acknowledges that, that she gave that false testimony under oath knowing
that she didn't identify anyone on April 5th of 2003.  I don't know what
perpetrating a lie is in your world, but in this one that's a lie.


	She also acknowledged Mr. Rizzo when he asked her, "Do you have an
opinion who the third person is?"  And she said, "I do now."  That's what
happens when a consensus is formed from a prop that is placed before you
repeatedly.  . . .  "Do you have an opinion who was out there?"  "Now I do." 
What a surprise.  You think about her reasons to shade her testimony.


*   *   *

	

	Mr. Afzal, 68-years-old, manager at Affordable Furniture, works with Mr.
Hussein who's much younger, practically snarled at me on Friday and
mimicked Mr. Rizzo and said, "I said a few minutes, not seconds on the tape." 
And it was just moments earlier when we were back in that other room and he
agreed with me in front of Mr. Rizzo that he had said a few seconds, a few
minutes.

	

*   *   *

	

	[Glaspie] has no explanation for why he kept switching.  The only thing
remarkable that occurred was the number of times he met with Mr. Rizzo and
saw just those three photos.  And you see, it's okay for him to lie at Mr.
Joubert's trial.  No harm to [appellant].  Mr. Glaspie is now a State's witness. 
Remember?  He cut his deal in July of 2004.  But the problem is you dress
these witnesses and rehearse them for this man's trial.  When you do that,
they're no longer witnesses.  They're tools.

	

*   *   *

	

	Ericka Dockery had 120 days worth of reasons to shade her testimony for Dan
Rizzo.

	

*   *   *

	

	You can't let their kind of law be the guide for you.

	It is true that defense counsel is allowed wide latitude in drawing inferences from the
evidence, but such inferences must be "reasonable, fair, legitimate, and offered in good
faith."  Gaddis v. State,  753 S.W.2d 396, 398 (Tex. Crim. App. 1988).  Here, the record does
not support Ms. Muldrow's insinuations that Mr. Rizzo had directed the testimony of
witnesses, and given that the insinuations were unreasonable and unfair, Mr. Rizzo could
properly respond to them.  However, as we have stated, "[A] prosecutor may not stray
beyond the scope of the invitation."  Johnson v. State, 611 S.W.2d 649, 650 (Tex. Crim. App.
1981).  In Mosley v. State, 983 S.W.2d 249, 259 (Tex. Crim. App. 1998), we noted that,
"Although it is impossible to articulate a precise rule regarding these kinds of argument[s],
it is fair to say that a prosecutor runs a risk of improperly striking at a defendant over the
shoulder of counsel when the argument is made in terms of defense counsel personally and
when the argument explicitly impugns defense counsel's character." 

	Mr. Rizzo's response was not tailored to the facts in the record or to misstatements
of opposing counsel.  Rather, his response delved into matters that were well outside the
record, and he gave his own opinion directly impugning the veracity of opposing counsel
instead of disproving her allegations with testimony from the trial or simply pointing out that
Ms. Muldrow's insinuations were nothing more than her own unsupported speculation and
conjecture.  Accordingly, although mindful of Mr. Rizzo's predicament, we must conclude
that the argument as given was improper and that the trial court erred in overruling
appellant's objections to it.

	But our inquiry does not end here.  As we have held, improper-argument error of this
type is non-constitutional in nature, and a non-constitutional error "that does not affect
substantial rights must be disregarded."  Tex. R. App. P. 44.2(b); Martinez v. State,  17
S.W.3d 677, 692-93 (Tex. Crim. App. 2000). (2)  To determine whether appellant's substantial
rights were affected, we balance the severity of the misconduct (i.e., the prejudicial effect),
any curative measures, and the certainty of conviction absent the misconduct.  Martinez,  17
S.W.3d at 692-93.  Further, in evaluating the severity of the misconduct, we must assess
"whether [the] jury argument is extreme or manifestly improper [by] look[ing] at the entire
record of final arguments to determine if there was a willful and calculated effort on the part
of the State to deprive appellant of a fair and impartial trial."  Cantu v. State,  939 S.W.2d
627, 633 (Tex. Crim. App. 1997). (3)
  Viewing the State's closing as a whole, we cannot
conclude that there was a willful and calculated effort to deprive appellant of a fair and
impartial trial, and viewing the record as a whole, we cannot conclude that appellant was
prejudiced by the remarks.  

	Although there were no curative measures, such as an instruction to disregard, the
objectionable statements were clearly directed at opposing counsel and not at appellant.  Mr.
Rizzo unequivocally stated that he was directly responding to Ms. Muldrow's "personal
attacks" against him.  The jury heard the closing argument of Ms. Muldrow, where she 
repeatedly insinuated misconduct on the part of Mr. Rizzo, and then heard Mr. Rizzo's
statements personally condemning Ms. Muldrow's tactics.  And, as Mr. Rizzo stated after
delivering his condemnation, he moved on and did not dwell on the matter.  Moreover, given
the corroborated accomplice-witness testimony of Glaspie implicating appellant in the capital
murder, the certainty of conviction absent the misconduct remains unchanged.  	

	We conclude that appellant's substantial rights were not affected by the prosecutor's
comments.  Points of error one and two are therefore overruled. 

	The judgment of the trial court is affirmed.



Delivered: September 24, 2008

Publish
1.   Unless otherwise indicated, all references to Articles refer to the Code of Criminal Procedure. 
2.   We held in Martinez, "For arguments that strike over the shoulders of counsel, we have held that
the harm standard for nonconstitutional errors-found in Texas Rule of Appellate Procedure 44.2(b)-applies. 
Mosley v. State, 983 S.W.2d 249, 259 (Tex. Crim. App.1998) [].  Mosley's holding suggests that most
comments that fall outside the areas of permissible argument will be considered to be error of the
nonconstitutional variety.  Comments upon matters outside the record, while outside the permissible areas
of jury argument, do not appear to raise any unique concerns that would require us to assign constitutional
status.  We shall therefore apply the standard of harm for nonconstitutional errors."
3.   We stated in Cantu:  "We noted, in Gaddis [753 S.W.2d 396, 398 (Tex. Crim. App. 1988)] that
counsel is allowed wide latitude in drawing inferences from the evidence so long as the inferences drawn are
reasonable and offered in good faith.  Conversely, jury argument must be extreme or manifestly improper,
or inject new and harmful facts into evidence to constitute reversible error.  Gaddis, supra, at 398.  In
determining whether jury argument is extreme or manifestly improper, we look at the entire record of final
arguments to determine if there was a willful and calculated effort on the part of the State to deprive
appellant of a fair and impartial trial."  Johnson v. State, 604 S.W.2d 128, 135 (Tex. Crim. App. 1980)
[(stating that "[t]his Court will not hesitate to reverse a judgment when the prosecutor engages in conduct
calculated to deny the accused a fair and impartial trial")]."



